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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

 MARIE MAYEROVA and ARIANA
 CHRETIEN, individually and on behalf of    : Case No. 18-cv- 11909-GCS-
 all those similarly situated               : RSW
                                            :
                           Plaintiff,       : Hon. George Caram Steeh
                                            : Mag. R. Steven Whalen
        v.                                  :
                                            :   DEFENDANTS’ BRIEF IN
 EASTERN MICHIGAN UNIVERSITY,               :         OPPOSITION
 JAMES SMITH, SCOTT                         : TO PLAINTIFFS’ MOTION
 WETHERBEE, and THE BOARD OF                :      FOR TEMPORARY
 REGENTS,                                   :    RESTRAINING ORDER
                                            : AND FOR PRELIMINARY
                           Defendants.      :         INJUNCTION
                                            :
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                           Statement of Issues Presented

 Should the Court deny Plaintiffs’ request for preliminary injunctive relief because
 Plaintiffs cannot establish a likelihood of success on the merits, that they will
 suffer irreparable harm in the absence of an injunction, or that the balance of harms
 weighs in their favor?

       Defendants assert that the answer is “yes”




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                                  I.     Introduction

       In March 2018, Eastern Michigan University (“EMU” or the “University”)

 made a difficult budgetary decision to eliminate four sports teams. Two of the

 teams were men’s teams and two were women’s teams. Seventy percent of the

 athletes in the cancelled programs were men, while only 30 percent were women.

 Plaintiffs nonetheless filed this action alleging that this decision discriminated

 against women and thus violated Title IX.         Plaintiffs now seek extraordinary

 injunctive relief, asking the Court to reconstitute the already-disbanded women’s

 teams.

       Plaintiffs’ motion fails for several reasons.         They cannot establish a

 likelihood of success on the merits because the Supreme Court has foreclosed their

 ability to bring a private right of action for non-intentional discrimination based on

 the “OCR Policy Interpretation” that forms the basis of their claims. Their motion

 is also bereft of evidence, thereby preventing Plaintiffs from proving a likelihood

 of success. Additionally, because Plaintiffs seek to address “historic Title IX

 wrongs,” the bulk of their allegations are time-barred and the only actionable

 decision cannot plausibly constitute an intentionally discriminatory act “on the

 basis of sex” because it impacted more male students than female students.

 Plaintiffs also ignore their delay in seeking injunctive relief – due to their inaction,

 too few athletes remain to field viable softball or tennis teams – and exaggerate the
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 irreparable harm they allegedly face by misrepresenting the facts and law regarding

 the supposed “transfer risks.” Finally, the balance of harms weighs in favor of

 denying Plaintiffs’ request, because ordering the University to spend resources on

 recreating the two sports programs will harm other University students in the

 academic or sports programs where cuts will need to take place to balance out the

 expenditures.   EMU therefore asks the Court to deny Plaintiffs’ request for

 preliminary injunctive relief.

                                  II.   Relevant Facts

 A.    Eastern Michigan University Decides to Cut Four Sport Teams in
       Response to Budget Constraints and Balancing Academic Priorities
       In recent years, the University has had to make many difficult decisions

 regarding how best to fulfill its academic mission in light of declining state support

 (nearly $10 million less per year than was received in 2003), population shifts

 (including declining high school enrollment in Michigan, which has resulted in a

 decline in student credit hours at universities), and enrollment shifts. As a result,

 the University has operated with a budget deficit in each of the last seven years and

 has taken steps to reduce spending while still investing in new initiatives to

 position EMU for the future. (Ex 1, Schwartz Dec, Exhibit C, University Response

 to Budget-Related Matters).

       It was against this backdrop that the University made a decision to reduce

 overall athletics spending by $2M while making similar decisions in other areas to


                                           2
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 align spending with overall academic priorities. The decision to reduce athletics

 spending resulted in the elimination of four sports teams: men’s wrestling, men’s

 swimming and diving, women’s softball, and women’s tennis.1 Altogether, 83

 student-athletes participated in these programs during the last academic year, of

 whom 58 or 70% were men and 25 or 30% were women. (Ex 2, McCarthy Dec,

 ¶4). The University announced the decision publicly and to the affected student-

 athletes in March 2018 in order to permit the student-athletes and incoming

 students sufficient time to adjust their plans.     As part of the decision, the

 University assured all affected student-athletes that if they chose to remain at EMU

 they would continue to receive their athletic and academic scholarship aid and that

 EMU would facilitate transfer to other schools if the student elected to seek that

 option. (Ex 1, Schwartz Dec, Exhibit A (Press Release) and Exhibit B (FAQ)).

 B.    Steps Taken Following the Announcement

       During    the   approximately    three   months    since   the   University’s

 announcement—and before the filing of this lawsuit—the University implemented

 its decision. All fulltime coaches affiliated with the four discontinued sports

 terminated their employment months ago, and each signed a severance agreement

 around the date of termination. For example, former softball head coach Melissa


 1
  Prior to March 2018, the last time the EMU changed its sports offerings was in
 2000, when it discontinued both men's tennis and men's soccer and added a
 women's rowing team. (Ex 1, Schwartz Dec, Exhibit A).

                                          3
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 Gentile was terminated effective May 11, 2018 and signed her severance

 agreement on April 27, 2018. Additionally, upon information and belief, Gentile,

 sold her house and moved out of the state of Michigan. Softball assistant coaches

 Magali Frezzotti and Kimberly Burke’s respective employment also terminated

 effective May 11 and they signed severance agreements on April 30 and April 27,

 respectively. Former tennis head coach Jayson Wiseman’s employment terminated

 May 4 and he signed a severance agreement May 18. (Ex 2, McCarthy Dec, ¶5).

         On March 20, 2018, all committed prospective student-athletes who signed a

 National Letter of Intent (“NLI”) with EMU for 2018-19 were contacted by email.

 (Ex 2, McCarthy Dec, Exhibit A). That email encouraged the prospective students

 to attend the University and confirmed that “If you choose to attend EMU, your

 athletic and/or academic scholarships will be honored….” (Id.) It also explained

 that if the prospective student chose to attend another institution, EMU had taken

 steps with the NCAA to facilitate such action:

         Today, in order to facilitate your re-engagement in the recruiting
         process, EMU declared your National Letter of Intent null and void
         due to EMU's discontinuation of your sport. The NCAA has approved
         EMU's Null and Void request. This “null and void” allows you to
         contact other schools and coaches about pursuing a scholarship for the
         fall 2018 semester or thereafter.

 (Id.)   Finally, the email encouraged the prospective students to contact the

 University with any questions or concerns. (Id.) In the past few months, at least 5

 of the 7 prospective student-athletes who had committed to play softball signed a

                                           4
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 NLI with or committed to play at another school.2 (Ex 2, McCarthy Dec, ¶6).

 Similarly, at least 2 of the 3 prospective student-athletes who had committed to

 play tennis signed a NLI or committed elsewhere.3 (Id.)

       On March 20, the University also met with all affected current student-

 athletes and provided them information on next steps. In an email, the University

 explained that it was encouraging each student to remain at the University to

 graduate and confirmed that “[y]our athletic and/or academic scholarships will be

 honored if you continue to progress towards your degree.” (Ex 2, McCarthy Dec,

 Exhibit B). The email also provided information on student-athletes wishing to

 transfer elsewhere:

       If you choose to pursue your academic and athletic careers elsewhere,
       we will support you in any way possible. The attached letter grants
       you permission to contact other institutions about transferring, if
       you so choose. As long as you are academically eligible per NCAA
       rules, you will be immediately eligible at any other institution. You
       can forward the Permission to Contact Letter to any NCAA or NAIA
       institution to facilitate discussions on transferring, and it will be sent
       out to every NCAA conference on your behalf.

 (Id. (emphasis in original).). The email included (a) a letter permitting other

 NCAA institutions to contact members of the affected sports teams as well as (b) a

 “frequently asked questions,” or “FAQ,” answering certain questions that the

 2
   One prospective student-athlete appears to be attending another institution based
 on her twitter profile. (Ex 2, McCarthy Dec, ¶6). The University has not been able
 to determine if the seventh prospective student-athlete has committed elsewhere.
 3
   The University has not been able to determine if the third prospective student-
 athlete has committed elsewhere.

                                           5
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 student-athletes may have. (Id.).

       Regarding the impact that the discontinuation of sports had on NCAA

 eligibility, the FAQ explained, “This does not impact your seasons of eligibility”

 and encouraged the student-athlete to contact the EMU Athletics Compliance

 Office with questions. (Id.) The FAQ also encouraged student-athletes to contact

 the Compliance Office for assistance with the transferring process.                    (Id.)

 Additional support information was also provided. (Id.)

       At the time of the March announcement, there were 17 student-athletes on

 the softball team, four of whom exhausted their NCAA eligibility with the 2018

 spring season. At least one student-athlete is transferring. Only 5 student-athletes

 (including Plaintiff Ariana Chretien) have indicated an intent to return to the

 University in 2018-19 to continue their studies. (Ex 2, McCarthy Dec, ¶8). Thus,

 there are insufficient student-athletes available to field a viable softball team. 4

       The same is true for tennis. Of the 8 women on the tennis team in 2017-18,

 5 exhausted their NCAA eligibility in spring 2018.             Only 2 student-athletes

 (including Plaintiff Marie Mayerova) have indicated an intent to return to the

 University to continue their studies. (Ex 2, McCarthy Dec, ¶9). Again, due to the

 decisions of incoming student-athletes to transfer elsewhere, there are insufficient



 4
   According to the websites of other Mid-American Conference (“MAC”) schools,
 the smallest softball rosters had 17 players (Ohio University, Buffalo, Akron).

                                             6
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 student-athletes to field a viable tennis team. 5

       The Mid-American Conference (“MAC”) has also moved forward and

 planned the schedule for the 2019 softball season. Specifically, on June 8, 2018,

 the MAC released an “as is” softball schedule that does not include EMU. (Ex 3,

 Softball Schedule). Additionally, due to the discontinuation, the University has not

 scheduled non-conference games or matches for either sport, and the passage of

 time increases the difficulty of compiling a competition schedule.

       All softball and tennis apparel and uniform orders for 2018-19 were

 cancelled by the equipment staff and the bulk of any apparel in inventory has been

 given away. (Ex 2, McCarthy Dec, ¶11). For softball, the University gave away

 entire sets of uniforms or a significant number of uniforms in a particular set, to

 alumni and student-athletes that were on the team in 2017-18.           (Id.)   If the

 University were required to reverse its already-implemented decision, it would

 have to order multiple sets of uniforms, as well as other practice gear, apparel, and

 footwear, to outfit the teams appropriately. (Id.)

 C.    Background Information Regarding Plaintiffs

       Although Plaintiffs purport to bring this lawsuit on behalf of a class, they

 confine their sparse factual assertions in support of their motion to two individual


 5
   According to the USTA, on average most tennis teams carry 8-12 members. (See
 https://www.usta.com/content/dam/usta/pdfs/Interested_in_Playing_College_Tenni
 s.pdf).

                                             7
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 student-athletes: Marie Mayerova and Ariana Chretien.

       Mayerova is a “rising senior,” who was recently on the tennis team.

 Mayerova admits that she received expressions of interest from other schools

 regarding a potential transfer, but asserts that she “does not have the resources to

 effectively transfer.” (Dkt#1, Compl, ¶14). She does not, however, provide any

 facts to demonstrate that she would have been unable to transfer to a new school.

 For example, although she speculates that she might suffer “loss of course credits,”

 (id., ¶14), she does not provide any specific information for Defendants or the

 Court to evaluate this conclusory assertion. Mayerova asserts that she relies on her

 athletic scholarship, (Dkt#2, Mayerova Dec, ¶17), but does not contest that the

 University has committed to honoring her scholarship, (see id.).

       Chretien just completed her sophomore year and was a member of the

 softball team.   Similar to Mayerova, Chretien “received interest from other

 schools.” (Dkt#1, Compl, ¶16). She asserts that she is limited in her ability to

 transfer “because the aviation major is not offered at many schools.”          (Id.)

 Chretien does not, however, provide any facts to allow Defendants or the Court to

 determine whether she has actually received an offer, or otherwise attempted, to

 transfer and play softball at another school.     Additionally, although Chretien

 asserts that she would be unable to transfer because she is studying aviation,

 (Dkt#2, Chretien Dec, ¶8), a cursory search reveals there are at least a dozen other



                                          8
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 schools that both field a Division I softball team and provide an aviation major,

 including Western Michigan University and others in the Midwest.6

 D.    Plaintiffs’ Class-Based Allegations

       Plaintiffs seek to represent an extraordinarily broad (and vaguely defined)

 class composed of not just recent or potential members of the softball and tennis

 teams, but also those “who want to participate in other varsity sports not offered to

 women by EMU.”7 (Dkt#1, Compl, ¶26). They also seek to represent students

 “who are deterred from enrolling at EMU” because the University does not offer

 certain sports. (Id.) In effect, Plaintiffs ask the Court to take over as EMU’s

 Athletic Director for years to come, deciding in which sports teams will be added

 or cut, which roster spots and scholarships will be available, and a myriad of other

 matters that must be considered in running a Division I collegiate athletics

 program. (See, e.g., id., ¶69, Prayer For Relief, ¶¶C-D).



 6
      (https://www.collegexpress.com/lists/list/colleges-with-excellent-programs-in-
 aviation-flying/115/)
 7
   Although not at issue in the instant motion, Plaintiffs’ proposed class seeks to
 include individuals (non-students who have never applied to EMU) who are not
 proper parties to a Title IX claim. Loewen v. Grand Rapids Med. Educ. Partners,
 2012 WL 1190145, at *12 (W.D. Mich. Apr. 9. 2012) (finding no Title IX liability
 where plaintiff “offer[ed] no evidence to show that she was an MSU student”);
 K.T. v. Culver-Stockton Coll., 2016 WL 4243965, *4-5 (E.D. Mo. Aug. 11. 2016)
 (holding non-student who was assaulted on campus while visiting university as a
 soccer recruit had no standing to bring Title IX claim); Doe v. Brown Univ., 270 F.
 Supp. 3d 556 (D.R.I. Sept. 6, 2017) (holding non-student who was assaulted on
 university campus had no standing to pursue Title IX claim).

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                             III.    Procedural History

       On June 6, 2018, Plaintiffs’ counsel sent the University a letter threatening a

 lawsuit unless EMU immediately reinstated the tennis and softball programs by

 one week later, June 13. As with their Complaint and Affidavits, the letter did not

 provide any facts to support Plaintiffs’ belief that the University’s decision to

 eliminate two men’s and two women’s sports violated Title IX. On June 13, 2018,

 the University confirmed that it would not voluntarily reinstate the programs.

 Plaintiffs filed their Complaint and Motion two days later.

                                    IV.   Argument

 A.    Standard of Review

       In evaluating a motion for a temporary restraining order or a preliminary

 injunction, the court considers four factors: “(1) whether the movant has a strong

 likelihood of success on the merits; (2) whether the movant would suffer

 irreparable injury without the injunction; (3) whether issuance of the injunction

 would cause substantial harm to others; and (4) whether the public interest would

 be served by issuance of the injunction.” Rock & Roll Hall of Fame & Museum,

 Inc. v. Gentile Prods., 134 F.3d 749, 753 (6th Cir. 1998).                 “[T]he four

 considerations applicable to preliminary injunction decisions are factors to be

 balanced, not prerequisites that must be met.” In re De Lorean Motor Co., 755

 F.2d 1223, 1229 (6th Cir. 1985). The movant bears the burden of establishing



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 these elements. Livonia Prop. Holdings v. 12840-12976 Farmington Rd. Holdings,

 717 F. Supp. 2d 724, 731 (E.D. Mich. 2010), aff’d, 399 F. App’x 97 (6th Cir.

 2010).

       “[T]he preliminary injunction is an extraordinary remedy involving the

 exercise of a very far-reaching power, which is to be applied only in the limited

 circumstances which clearly demand it.” Apex Tool Grp. v. Wessels, 119 F. Supp.

 3d 599, 606 (E.D. Mich. 2015) (Steeh, J.) (quoting Leary v. Daeschner, 228 F.3d

 729, 739 (6th Cir. 2000) (internal quotation marks omitted)). “A preliminary

 injunction is reserved for only the most egregious case, and should not be extended

 to cases which are doubtful or do not come within well-established principles of

 law.” Bonnell v. Lorenzo, 241 F.3d 800, 826 (6th Cir. 2001).

 B.    Plaintiffs Cannot Receive Preliminary Injunctive Relief Because They
       Seek to Modify, Not Preserve, the Status Quo.
       The Supreme Court has made clear that the primary purpose of emergency

 injunctive relief is “to preserve the relative positions of the parties” until a merits

 determination can be made. Univ. of Tex. v. Camenisch, 451 U.S. 390, 395 (1981);

 see Ramik v. Darling Int’l, 161 F. Supp. 2d 772, 778 (E.D. Mich. 2001). This

 Court has thus held that there are “three types of particularly disfavored

 preliminary injunctions: (1) preliminary injunctions that alter the status quo;

 (2) mandatory preliminary injunctions; and (3) preliminary injunctions that afford

 the movant all the relief that it could recover at the conclusion of a full trial on the


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 merits.”     Cox v. Jackson, 579 F. Supp. 2d 831, 855 n.8 (E.D. Mich. 2008)

 (emphasis added) (internal quotation marks omitted); Mayfield v. Miles, 2014 WL

 5605301, at *5 (E.D. Mich. Nov. 4, 2014) (same); Theus v. Internal Revenue Serv.

 Criminal Investigation Div., 2016 WL 406462, at *4 (E.D. Mich. Jan. 14, 2016)

 (same), report and recommendation adopted, 2016 WL 393176 (E.D. Mich. Feb.

 2, 2016).8

         Under this well-established precedent, Plaintiffs’ requested emergency

 injunctive relief is multiply disfavored. First, they seek to alter the status quo by

 undoing      an   already-implemented     decision    rather    than   forestalling   its

 implementation. Second, Plaintiffs seek a mandatory injunction, affirmatively

 requiring the University to “sponsor[] additional women’s varsity athletic

 opportunities” beyond resurrecting a softball or tennis program. (Dkt#3-1, Pl’s Br

 at 25). Third, a preliminary injunction requiring the University to reestablish

 tennis and softball teams or add other women’s sports would give Plaintiffs the

 ultimate relief that they could recover at the conclusion of a full trial on the merits.

 Accordingly, Plaintiffs’ request for injunctive relief here “must be more closely

 scrutinized than the already-disfavored motion for preliminary junction which

 seeks to maintain the status quo.” Cox, 579 F. Supp. 2d at 855 n.8.




 8
     Unpublished cases are attached as Exhibit 4.

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 C.    Plaintiffs Have Not Demonstrated an Entitlement to Emergency
       Injunctive Relief

       1.     Plaintiffs Cannot Demonstrate a Likelihood of Success on the
              Merits
       “Although no one factor is controlling, a finding that there is simply no

 likelihood of success on the merits is usually fatal.” Gonzales v. Nat'l Bd. of Med.

 Examiners, 225 F.3d 620, 625 (6th Cir. 2000) (citing Michigan State AFL–CIO v.

 Miller, 103 F.3d 1240, 1249 (6th Cir. 1997) (“[A] preliminary injunction issued

 where there is simply no likelihood of success on the merits must be reversed.”)).

 Here, there are several critical flaws with Plaintiffs’ legal theories and the meager

 evidence they submit in support of their request that the Court reverse the

 University’s implemented decision.

              a.     The Supreme Court Has Foreclosed Plaintiffs’ Ability to
                     Bring a Private Right of Action Asserting a Claim of
                     Non-Intentional Discrimination
       Plaintiffs’ Complaint and Motion suffer from a fatal flaw: the Supreme

 Court has foreclosed the ability to bring a private cause of action based on the

 “OCR Policy Interpretation” that forms the entire basis for Plaintiffs’ legal

 theories. In Sandoval v. Alexander, 532 U.S. 275 (2001), the Court held that the

 private right of action under Title VI of the Civil Rights Act of 1964, 42 U.S.C.

 §2000d, et seq., is limited to claims for intentional discrimination, and that there is

 no private right of action to enforce regulations that impose obligations which are

 not directly imposed by the statute. Specifically, Sandoval involved a challenge to

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 Alabama’s decision to provide driver’s license exams only in English.             The

 plaintiff claimed that the decision violated §601 of Title VI because it had a

 disparate adverse impact based on national origin and race, and pointed to

 administrative regulations that prohibited practices having the effect of

 discriminating on account of national origin.       The district court enjoined the

 English-only rule, and the Eleventh Circuit affirmed. Id. at 279.

       The Supreme Court reversed, holding first that §601 created a private right

 of action only for intentional discrimination. 532 U.S. at 280. Second, the Court

 held that the regulations prohibited conduct – disparate-impact discrimination –

 that was not itself prohibited by §601’s ban on intentional discrimination. Id. at

 285-86. As a result, the Court held that the private right of action implied under

 §601 could not be used to enforce the regulation’s disparate-impact ban. The

 Court then held that a suit to enforce the regulation could be allowed only if the

 statutory section authorizing the agency to issue regulations, §602, 42 U.S.C.

 §2000d-1, itself implied the existence of a private right of action. Id. Finally, the

 Court held that the language of §602 did not create an implied private cause of

 action. The Court relied on the absence of any “rights-creating language” in §602,

 as well as the fact that §602 contained detailed procedures for administrative

 enforcement of any regulations promulgated, which rather than provide a private

 right of action, “suggest[ed] the opposite.” Id. at 288-89.



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       Sandoval is directly applicable here, notwithstanding that the Court

 interpreted Title VI and not Title IX. The language of Title VI and Title IX is

 nearly identical, and Title IX was consciously modelled after Title VI. Thus the

 two laws have always been interpreted in pari materia.          Cannon v. Univ. of

 Chicago, 441 U.S. 677, 696-703 (1979) (“We have no doubt that Congress

 intended to create Title IX remedies comparable to those available under Title

 VI.…”). As noted in Cannon, §901 of Title IX, 20 U.S.C. §1681, is identical to

 §601 of Title VI, 42 U.S.C. §2000d. Id. at 695 (“Except for the substitution of the

 word ‘sex’ in Title IX to replace the words ‘race, color, or national origin’ in Title

 VI the two statutes are identical …”). Additionally, like §601, §901 prohibits only

 intentional discrimination. Jackson v. Birmingham Bd of Educ., 544 U.S. 167, 174

 (2005) (private right of action under Title IX exists for retaliation for filing a

 complaint of sex discrimination because retaliation “constitutes intentional

 ‘discrimination’ ‘on the basis of sex’”); Horner v. Kentucky High School Athletic

 Ass’n, 206 F.3d 685, 692 (6th Cir. 2000) (concluding that intent requirement

 applies). Thus, as in Sandoval, the statutory provision on which Plaintiffs base

 their implied private right of action is limited to claims of intentional

 discrimination.

       As in Sandoval, Plaintiffs base their claim not on intentional discrimination,

 but rather on regulatory guidance that would prohibit conduct which is not itself



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 prohibited by the statute’s ban on intentional discrimination. Specifically, the only

 decision challenged by Plaintiffs is a decision to implement budget-reducing cuts.

 But EMU clearly did not intentionally discriminate against female student-athletes,

 as the cuts fell harder on males. “Disparate treatment does not arise from any and

 all differences in treatment; it occurs only where the offending party ‘treats some

 people less favorably than others because of their race, color, religion, sex, or

 national origin.” Communities for Equity v. Michigan High School Athletic Ass’n,

 459 F.3d 676, 695 (6th Cir. 2006) (quoting Int’l Bhd. of Teamsters v. United

 States, 431 U.S. 324, 335, n.15 (1977)) (emphasis added by 6th Circuit). Here,

 Plaintiffs cannot show that EMU treated them less favorably than male athletes,

 and they therefore have not and cannot plead that EMU intentionally discriminated

 against them on the basis of their gender.

       Unable to plead intentional discrimination under the actual Title IX statute,

 Plaintiffs instead seek relief under the OCR Policy Interpretation.        But their

 attempt to do so is barred by Sandoval because the Policy Interpretation goes

 beyond §901’s prohibition against intentional discrimination and the statute

 authorizing the regulations does not permit an implied private right of action.

 Plaintiffs acknowledge that the overall effect of the University’s March 2018

 decision was to actually reduce any statistical disparity between men’s and

 women’s participation opportunities, (see Dkt#1, Compl, ¶33), but insist that the



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 decision nonetheless violates the Policy Interpretation because some smaller

 gender disparity allegedly still remains. They essentially contend that the Policy

 Interpretation requires EMU to eliminate only men’s sports to meet its budget

 constraints unless total statistical proportionality is achieved. Assuming that the

 Department of Education (“DOE”) has authority under §902 to require schools to

 engage in such a species of affirmative action, 9 the failure to engage in affirmative

 action or other diversity-encouraging conduct is not intentional discrimination.

 Texas Dept. of Community Affairs v. Burdine, 450 U.S. 248, 258-59 (1981) (Title

 VII’s ban on intentional discrimination “does not require an employer to

 restructure his employment practices to maximize the number of minorities and

 women hired.”); Holden v. Owens-Illinois, 793 F.2d 745, 749 (6th Cir. 1986)

 (“Title VII does not require the adoption of affirmative action programs”);

 Manoharan v. Columbia College, 842 F.2d 590, 594 (2d Cir. 1988). Indeed, Title

 IX, like Title VII, expressly prohibits an interpretation that would require

 preferential treatment on account of statistical disparities between participants and

 members of any community at large. Title IX states that:

       Nothing contained in [§1681(a)] shall be interpreted to require any
       educational institution to grant preferential or disparate treatment to
       the members of one sex on account of an imbalance which may exist
       with respect to the total number or percentage of persons of that sex
       participating in or receiving the benefits of any federally supported

 9
   For purposes of the instant motion, the University assumes that the Policy
 Interpretation is a legitimate exercise of the DOE’s authority under §902.

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       program or activity, in comparison with the total number or
       percentage of person of that sex in any community, State, section or
       other area: provided that [consideration of statistical evidence of
       imbalances will be allowed.]

 20 U.S.C. §1681(b). See also 42 U.S.C. §2000e-2(j) (Title VII). By prohibiting

 EMU from making a decision which favors women over men, solely because it

 does not favor women “enough,” Plaintiffs’ application of the Policy Interpretation

 goes beyond a prohibition of intentional discrimination. Whether one terms that

 “affirmative action,” disparate impact analysis, or a remedy for discrimination by

 society at large, a failure to provide preferential treatment based on gender is not

 intentional discrimination.10

       Because the Policy Interpretation goes beyond the requirements of §901, a

 private action to enforce the Policy Interpretation is allowable only if the statutory

 provision authorizing the issuance of the Policy Interpretation itself implies the

 existence of a private right of action. Sandoval, 532 U.S. at 285-86; Ability Center

 of Greater Toledo v. City of Sandusky, 385 F.3d 901, 913-14 (6th Cir. 2004)

 (regulation under Title II of the Americans with Disabilities Act which “creates

 obligations not necessarily required by [the statute]” are not enforceable via a


 10
   Even the cases Plaintiffs rely upon, while not addressing whether a private right
 of action exists, have acknowledged that “a Title IX violation may not be
 predicated solely on a disparity between the gender composition of an institution's
 athletic program and the gender composition of its undergraduate enrollment.”
 Roberts v. Colorado State Bd. of Agriculture, 998 F.2d 824. 831 (10th Cir. 1993).
 See also Cohen v. Brown Univ., 991 F.2d 888, 895 (1st Cir. 1993) (same).

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 private right of action, even though a valid exercise of regulatory authority). Here,

 §902, the source of DOE’s authority to promulgate (and enforce) regulations, does

 not permit a private right of action. In relevant part, §902 (titled in part “Federal

 administrative enforcement”) states:

       Each Federal department and agency which is empowered to extend
       Federal financial assistance to any education program or activity … is
       authorized and directed to effectuate the provisions of section 1681 of
       this title with respect to such program or activity by issuing rules,
       regulations or orders of general applicability which shall be consistent
       with achievement of the objectives of the statute authorizing the
       financial assistance in connection with which the action is taken.

  20 U.S.C. §1682. It then details the mechanisms for approval and enforcement of

 any regulation. Id. Section 902 is identical in all material respects to the rules

 authorizing provision of Title VI, §602.11 Sandoval held that §602 could not

 support an implied private right of action.      Consequently, given the identical

 language of §902, it too does not permit a private right of action.

       The cases relied upon by Plaintiffs are not applicable. Roberts v. Colorado

 State Board of Agriculture, 998 F.2d 824, 829 (10th Cir. 1993) and Cohen v.

 Brown University, 991 F.2d 888 (1st Cir. 1993) were decided prior to Sandoval.

 Neither requires a Title IX plaintiff to show intentional discrimination and each

 applies the Policy Interpretation without engaging in the analysis mandated by

 Sandoval.    Thus, the rationale from either case does not survive Sandoval.

 11
    The only difference between §602 and §902 is the insertion of the word
 “education” to modify “program or activity.”

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 Plaintiffs’ third case, Beidinger v. Quinnipiac Univ., 691 F.3d 85 (2d Cir. 2012),

 while decided after Sandoval, refused to consider fully the ramifications of

 Sandoval, as it had been raised solely by an amicus and not adopted by either

 party. 691 F.3d at 97. Moreover, to the extent Beidinger discussed how it might

 view Sandoval, it limited Sandoval’s holding to a prohibition on disparate-impact

 claims. Id. This is contrary to the Sixth Circuit’s holding in Ability Center of

 Greater Toledo, which expressly held that Sandoval applies whenever there is a

 question whether a regulation is privately enforceable. 385 F.3d at 906, 913.

       In summary, Sandoval makes three things clear. First, §901 of Title IX,

 prohibits only intentional discrimination based on gender. Second, §902 of Title

 IX, which authorizes the DOE to issue and enforce regulations, does not support an

 implied private right of action based on those regulations. Third, as a result,

 regulations adopted under §902, which impose duties or liabilities that exceed

 those of §901 are not enforceable by a private litigant. This is exactly the case

 with Plaintiffs’ claim here.

       This case is indistinguishable from Sandoval. Both involve attempts to

 imply a private right of action from regulations or sub-regulation-level

 administrative policy guidance that expand the obligations of a federal funds

 recipient beyond that required by the statute. Even if that expansion is a legitimate

 exercise of the authority granted the agency for purposes of its administrative



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 enforcement of the law, a private cause of action is not allowed.

              b.    Plaintiffs Provide No Factual Evidence Establishing a
                    Likelihood of Success on the Merits
       Unlike on a motion to dismiss, on a motion for preliminary injunction the

 allegations in Plaintiffs’ Complaint are not entitled to the presumption of truth. On

 a motion for preliminary injunction, a plaintiff must prove with evidence – not

 merely plead – a likelihood of success on the merits. Advance America v. FDIC,

 257 F. Supp. 3d 56, 64 (D.D.C. 2017) (comparing applicable standards between a

 motion for a preliminary injunction and a motion to dismiss). Indeed, “the proof

 required for the plaintiff to obtain a preliminary injunction is much more stringent

 than the proof required to survive a summary judgment motion.” Leary, 228 F.3d

 at 739. Here, even if Plaintiffs could overcome Sandoval and pursue a private

 right of action based on the regulations, they do not produce any non-conclusory

 evidence to prove a likelihood of success on the merits.

       Plaintiffs’ motion is based on speculation and assumptions, not facts or

 admissible evidence.     Indeed, their central allegations are made only “on

 information and belief.” For example, the Complaint alleges “on information and

 belief” that male students are provided more opportunities than female students.

 (Dkt#1, ¶56).     Similarly, Plaintiffs allege “on information and belief” that

 Defendants underreport male participation and “do not provide female students

 with varsity athletic participation opportunities in a number substantially


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 proportionate to female undergraduate enrollment.” (Id., ¶80). But they provide

 no admissible evidence to support these allegations,12 and Plaintiffs’ “speculation

 is insufficient to satisfy plaintiffs’ burden of demonstrating a strong likelihood of

 success on the merits.”13 Northeast Ohio Coalition for the Homeless v. Blackwell,

 467 F.3d 999, 1011 (6th Cir. 2006).

       In short, while Plaintiffs disagree with the University’s decision to eliminate

 softball and tennis, and speculate that there is a Title IX violation, their

 disagreement and speculation are insufficient to demonstrate a likelihood of

 success on the merits.




 12
    Plaintiffs’ reliance on Biedliger, Roberts, and Cohen is misplaced. In each case,
 the student-athletes presented detailed factual evidence. See, e.g., Roberts, 998
 F.2d at 829 (describing a “substantial quantity of statistical evidence”); Biedliger,
 616 F. Supp. at 280-91 (same); Cohen, 809 F. Supp. at 980-82.
 13
    Plaintiffs’ limited factual support would not be sufficient to survive a Rule
 12(b)(6) motion to dismiss under Bell Atlantic Corp. v. Twombly, 550 U.S. 544
 (2007) and Ashcroft v. Iqbal, 556 U.S. 662 (2009). This is because allegations
 based upon “information and belief” must be disregarded since they “are precisely
 the kinds of conclusory allegations that Iqbal and Twombly condemned and thus
 told [courts] to ignore when evaluating a complaint's sufficiency.” 16630
 Southfield Ltd. P'ship v. Flagstar Bank, F.S.B., 727 F.3d 502, 506 (6th Cir. 2013).
 Moreover, Plaintiffs cannot rely on conclusory allegations to commence discovery
 because “Rule 8 … does not unlock the doors of discovery for a plaintiff armed
 with nothing more than conclusions,” Iqbal, 556 U.S. at 678-79. See also New
 Albany Tractor v. Louisville Tractor, 650 F.3d 1046, 1051 (6th Cir.
 2011)(“plaintiff must allege specific facts [to support a plausible claim] even if
 those facts are only within the head or hands of the defendants. The plaintiff may
 not use the discovery process to obtain these facts after filing suit. The language of
 Iqbal, ‘not entitled to discovery,’ is binding on the lower federal courts.”)

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              c.    Plaintiffs Cannot Demonstrate a Likelihood of Success on
                    the Merits by Challenging Time-Barred Actions
       Plaintiffs also cannot show a likelihood of success on the merits because

 their challenges to decades-old actions are barred by the statute of limitations. For

 example, Plaintiffs allege “historic Title IX wrongs,” (Dkt#1, Compl, ¶2), and refer

 to opportunities that the University “historically has not provided,” (id., ¶76. See

 also id., ¶81 (relying on a failure to meet an alleged 1978 deadline to support

 claim)).   Plaintiffs cannot, however, rely upon pre-limitations actions to

 demonstrate a likelihood of success on the merits.

       The statute of limitations for each of Plaintiffs’ claims is three years. MCL

 600.5805(10); Lillard v. Shelby County Board of Education, 76 F.3d 716, 729 (6th

 Cir. 1996) (Title IX); Wolfe v. Perry, 412 F.3d 707, 714 (6th Cir. 2005) (§1983).

 Thus, to the extent their allegations about “historic” decisions regarding which

 teams to support are essential to their claim, their claims are barred.14 The last



 14
    Plaintiffs cannot rely on the “continuing violations doctrine,” which does not
 apply to Title IX claims. Dibbern v. Univ. of Mich., 2016 WL 2894491, at *19
 (E.D. Mich. May 18, 2016) (“This Court concludes that the continuing violations
 doctrine does not apply and, therefore, any Title IX claims asserted … that are
 based upon pre-December 21, 2009 incidents are time-barred.”); Gjeka v.
 Delaware County Community College, 2013 WL 2257727, *4-5 (E.D. Pa. May 23,
 2013); LRL Properties v. Portage Metro Housing Authority, 55 F.3d 1097, 1105
 n.3 (6th Cir. 1995) (“Courts have been extremely reluctant to apply this
 [continuing violations] doctrine outside of the context of Title VII”); Folkes v. New
 York College of Osteopathic Medicine, 214 F. Supp. 2d 273, 288-289 (E.D.N.Y.
 2002) (questioning whether the continuing violation doctrine applies to Title IX

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 realignment of teams to occur at the University prior to the decision disputed here

 was in 2010, when the University eliminated two men’s teams and added a

 women’s team. Thus, pre-2015 actions (or inactions) are well outside the statute of

 limitations and cannot be used as a basis for liability. As relevant to this case,

 Plaintiffs may only challenge the University’s March 2018 decision, since that is

 the only action alleged that occurred within the three-year limitations period.

 Because that singular decision impacted 58 male students and 25 female students,

 Plaintiffs will be unable to establish that female athletes were “excluded from

 participation” “on the basis of sex.” 20 U.S.C. §1681(a).

          2.       Plaintiffs Cannot Establish Irreparable Harm
          Plaintiffs also fail to meet their burden to prove irreparable harm. The

 University announced the discontinuation of the four sports in March, precisely so

 that the affected student-athletes would have adequate time to secure opportunities

 to play their sports at other schools, if they chose to do so. Although Plaintiffs

 now seek emergency relief, they do not explain why they waited for three months

 to make the request—waiting until long after the University took affirmative steps

 to discontinue the sports, including giving away uniforms, voiding NLIs for

 prospective student-athletes, notifying the Mid-America Conference, signing

 severance agreements with coaches, etc.         This delay “undermines [Plaintiffs’]
 Continued from previous page.
 claims since the Supreme Court has been “reluctan[t] to extend the reach of Title
 IX beyond that imposed by Congress”)).

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 allegation of irreparable harm.” Wells Fargo v. WhenU.com, 293 F. Supp. 2d 734,

 772–72 (E.D. Mich. 2003). Indeed, courts routinely find that “[a] delay between

 the discovery of the allegedly infringing conduct and the request for injunctive

 relief can support an inference that the alleged harm is not sufficiently severe or

 irreparable to justify injunctive relief.” Pierre v. Univ. of Dayton, 143 F. Supp. 3d

 703, 713-14 (S.D. Ohio 2015) (internal quotation omitted).

       Additionally, courts have found irreparable harm lacking where, as here,

 “student-athletes would not lose their scholarship funding if they chose to stay at

 [their university] and [where] the students were free to transfer to other colleges

 offering their chosen sport, which some of the students had done, so that those

 athletes were still able to compete at the college level.”15 Equity in Athletics v.

 Dep't of Educ., 291 F. App'x 517, 521 (4th Cir. 2008). See also Miller v. Univ. of

 Cincinnati, 2007 WL 2783674, at *11 (S.D. Ohio Sept. 21, 2007) (“Plaintiffs have

 not proved they will suffer an irreparable injury if the University is not enjoined

 from terminating the program. The University has committed itself to continuing

 scholarship assistance to any rower who will not be able to compete because of

 15
    The instant case is distinguishable from other cases finding irreparable harm due
 to the discontinuation of an athletic team. For example, in Quinnipiac University,
 the district court found irreparable harm in part because “[t]he decision to
 eliminate the team at the end of the year limits [plaintiffs’] chances of
 transferring.” 616 F. Supp. 2d at 291. The court also noted the unique personal
 circumstances that all but required the two plaintiffs to remain at Quinnipiac. Id. at
 292. As noted below, Plaintiffs misrepresent the transfer challenges they
 purportedly face.

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 termination of the program. It has also agreed to ‘release’ under NCAA rules any

 rower who wishes to remain in competitive collegiate rowing to transfer to another

 school.”); Gonyo v. Drake Univ., 837 F. Supp. 989, 994 (S.D. Iowa 1993)

 (“Plaintiffs' desire to complete their college education and intercollegiate wrestling

 at Drake, the school of their choice, is understandable, but Title IX does not

 establish a right to participate in any particular sport in one's college.”). Indeed, as

 noted above, some of the affected student-athletes have already transferred and

 most of the prospective student-athletes intend to play for other schools.

 Accordingly, Plaintiffs’ assertion that the March announcement “came too late to

 allow [incoming freshman] to find opportunities at others schools” lacks a factual

 basis. (Dkt#3-1, Pl’s Br at 3). And, to the extent Plaintiffs allege they are harmed

 because of unspecified “Transfer Risks,” those risks arose from their own inaction,

 which cannot be used to justify injunctive relief.

       Plaintiffs also exaggerate the limits placed upon their ability to transfer. As

 noted above, despite Ms. Chretien’s blanket assertion that “[t]here are not many

 universities where I could play Division I softball and major in aviation,” (Dkt#2,

 Chretien Dec, ¶8), it is apparent that there are numerous opportunities for her.

 Additionally, Ms. Mayerova’s discussion of limits placed upon her because of her

 visa status mispresents the law. Mayerova alleges that if she were to transfer, she

 would have to go through a “very intense process” regarding her immigration



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 status that would require her to “return to the Czech Republic and begin the

 process to obtain a new student visa.” (Dkt#2, Mayerova Dec, ¶12). She further

 claims that “[i]t would not be possible to accomplish this feat” between the time of

 the March 20 announcement and the new school year. (Id.) This is not true. The

 Department of Homeland Security provides detailed, simple instructions for a

 transferring student (and receiving school) that undercut Mayerova’s allegations. 8

 C.F.R. §214.2(f)(8)(ii).16     As long as Mayerova follows the transferring

 instructions, there should be no problem transferring to another school while not

 leaving the United States.     (Id.)   Furthermore, 8 C.F.R. §214.2(f)(8), which

 describes the regulations governing school transfers, specifically permits students

 on an F-1 visa to remain in the country if they “will begin classes at the transfer

 school or program within 5 months of transferring out of the current school.”

       Finally, Plaintiffs’ assertion that the Court can “presume” irreparable harm is

 misplaced. This is because “if a court finds it unlikely that a plaintiff will succeed

 on the merits of a constitutional claim, the ‘argument that [s]he is entitled to a

 presumption of irreparable harm based on the alleged constitutional violation is

 without merit,’” and “[t]he Court must look elsewhere for irreparable harm.” Doe


 16
    (Ex 5, Instructions for Transferring to Another School as an F-1 Student,
 available    at    https://studyinthestates.dhs.gov/instructions-for-transferring-to-
 another-school-as-an-f-1-student.) A series of Frequently Asked Questions is also
 available on the U.S. Customs and Immigration Enforcement website
 (https://www.ice.gov/sevis/f1-transfers.)

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 v. The Ohio State Univ., 136 F. Supp. 3d 854, 871 (S.D. Ohio 2016) (quoting

 Overstreet v. Lexington–Fayette Urban Cty. Gov’t, 305 F.3d 566, 578-79 (6th Cir.

 2002). Because Plaintiffs have not shown they are likely to succeed on the merits

 of their claims, they are not entitled to a presumption of irreparable harm.

          3.    Granting Injunctive Relief Would Cause Substantial Harm to
                Others
          Over 20,000 graduate and undergraduate students are enrolled at EMU.17

 The decision to reduce sports was made months ago for budgetary reasons. The

 reductions allow the University to realign and focus its resources on academic

 programs and facilities. Requiring the University to reconstitute two of the four

 disbanded teams (softball and women’s tennis) would divert resources from

 educational programs, thereby harming the rest of the student body who have no

 connection to intercollegiate athletics. See Equity in Athletics, 291 F. App'x at 521

 (balance of harms did not favor plaintiff where injunction sought months after

 announcement); id. at 522 (“In anticipation of the upcoming college year, coaches

 had already been terminated, competitions had been cancelled, and … funding had

 been reallocated….”).

          Moreover, the individual Plaintiffs’ requested relief would harm the putative

 class, which is not limited to potential softball and tennis players. An injunction

 that requires the University to bring back two specific teams would necessarily

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      (https://www.emich.edu/facts/index.php).

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 divert resources, undercutting efforts by other class members “who seek to

 participate in … any other sport not currently offered by EMU.” (Dkt#1, Compl,

 Prayer For Relief, ¶A). In other words, in a class action, a remedy that requires an

 institution to maintain a specific sports team “goes further than necessary to correct

 a violation of Title IX.” See Robert, 998 F.2d at 833.

       4.     The Public Interest Favors Denying Plaintiffs’ Request

       Universities in the State of Michigan enjoy a unique constitutional status.

 More specifically, the Michigan Constitution provides that the governing board of

 institutions of higher education “shall have general supervision of the institution

 and the control and direction of all expenditures from the institution's funds.”

 Const 1963, art 8, §§5, 6. These provisions grant the universities autonomy in how

 they manage their respective budgets. See, e.g., Regents of Univ. of Mich. v State,

 47 Mich. App. 23, 52; 208 N.W.2d 871 (1973). Thus, Michigan public policy, as

 enshrined in the Constitution, favors deferring to the University’s budgetary

 decisions, particularly in the absence of Plaintiffs demonstrating that the remaining

 preliminary injunction factors favor injunctive relief.

       In Equity in Athletics v. Dep't of Educ., 504 F. Supp. 2d 88 (W.D. Va. 2007),

 the district court concisely explained why it is not in the public interest for courts

 to micromanage athletic departments as they strive towards Title IX compliance. It

 explained that “the final factor, the public interest, ‘weighs in favor of permitting



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 colleges and universities to chart their own course in providing athletic

 opportunities without judicial interference or oversight, absent a clear showing that

 they are in violation of the law.’”18 Id. at 112 (quoting Gonyo v. Drake Univ., 837

 F. Supp. 989, 996 (S.D. Iowa 1993)). Here, given the critical flaws with the merits

 of Plaintiffs’ claims, the public interest favors denying the requested injunction.

                                  V.     Conclusion

       For all of these reasons, Defendants request that the Court deny Plaintiffs’

 motion in its entirety.

                                  Respectfully submitted,

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    An article in The Chronicle of Higher Education noted that “in choosing to
 eliminate teams like women’s tennis and men’s wrestling, Eastern Michigan is
 swimming with the tide. Over the course of the last decade, colleges’ athletics
 departments at all levels have dropped those and other sports in decline.” (Ex 6,
 Chronicle Article, available at https://www.chronicle.com/article/Here-Are-the-
 Hottest-College/242951).

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                            CERTIFICATE OF SERVICE
          I hereby certify that on June 29, 2018, I electronically filed the foregoing

 papers with the Clerk of the Court using the ECF system which will send

 notification of such filing to all attorneys of record.

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